                 Case 22-20265-kl         Doc 42   Filed 04/27/22      Page 1 of 1




                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION

IN RE:                                         )
         Thomas Ostrowski                      )
                                               )      Case No. 22-20265-kl
                                               )      Chapter 13
                        Debtor                 )


  ORDER GRANTING MOTION FOR RELIEF FROM STAY AND MODIFICATION


         The Motion For Relief From Stay filed by Debtor, Thomas Ostrowski (hereinafter

referred to as “Debtor”), having come before the Court.

         And the Court, having examined said Motion and being duly advised in the premises, and

no objections having been filed thereto, now finds sufficient cause for relief from stay, it is

therefore,

         ORDERED AND ADJUDGED: That the Motion For Relief From Stay filed by Debtor,

and hereby is, granted; it is further,

         ORDERED AND ADJUDGED: That the automatic stay is modified as it relates to the

pending decision before the Seventh Circuit Court of Appeals, under case number 21-2580 is

hereby lifted. Debtor is granted relief from stay to go forward with the litigation and the stay is

modified as to Lake County, Indiana, as Appellees, to respond accordingly.




Dated:______________                     ____________________________________________
                                         JUDGE, UNITED STATES BANKRUPTCY COURT

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